    Case: 1:07-cv-05276 Document #: 85 Filed: 05/30/08 Page 1 of 2 PageID #:481



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANTHONY SAFFORD,

        Plaintiff,

        v.
                                                         No. 07 CV 5276
ANDREW JANIK, Star No. 10860,
ANTHONY BRUNO, Star No. 12212,                           Judge Coar
JOHNNIE M. MINTER-EDWARDS, Star No.
21161, THOMAS R. SHEBISH, Star No.                       Magistrate Judge Keys
20419, JLYNN PIERCE, Star No. 8266,
TERRY HILLARD, LORI LIGHTFOOT,
TISA MORRIS, PHILLIP CLINE, MAYOR
RICHARD DALEY, and the CITY OF
CHICAGO,

        Defendants.

                                    NOTICE OF MOTION

On June 4, 2008 at 9:00 a.m., or as soon thereafter as counsel may be heard, I shall appear before
the Honorable Judge Coar at the Dirksen Building, 219 S. Dearborn, Chicago, Illinois and shall
then and there present the attached motion.

                                CERTIFICATE OF SERVICE

I hereby certify that on May 30, 2008, pursuant to Fed.R.Civ.P. 5 and the Northern District of
Illinois’s General Order on Electronic Case Filing, sec. XI, I caused the following documents:

NOTICE OF MOTION AND MOTION TO FOR LEAVE TO FILE A SECOND AMENDED
COMPLAINT

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an enotice
of the electronic filing to the following:

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